                Case 3:08-cr-30254-JPG                    Document 113 Filed 08/25/09                     Page 1 of 6          Page ID
A0245B         (Rev. 09/08) Judgment in a Criminal Case             #387
               Sheet I



                                           UNITED STATES DISTRICT COURT
                                                              Southern District of Illinois
                                                                             )
              UNITED STATES OF AMERICA                                       )     JUDGMENT IN A CRIMINAL CASE
                                   v.                                        )
                    GENESIS M. EFFINGER                                      )
                                                                             )     Case Number: 3:08CR30254-005-JPG
                                                                             )     USM Number: 40945-424
                                                                             )
                                                                             )      Lyndon Evanko
                                                                                   Defendant's Attorney
THE DEFENDANT:
!t'pleaded guilty to count(s)           1 of the Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense



 21 U.S.C. 846                      Conspiracy to Distribute & Possess with Intent to Distribute             11/6/2008

                                    Heroin.

       The defendant is sentenced as provided in pages 2 through             _ _6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)                                                D is       D are dismissed on the motion of the United States.
               -------------------------
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economlC circumstances.

                                                                             8/13/2009




                                                                             J. Phil Gilbert                            District Judge
                                                                            Name of Judge                              Title of Judge
                Case 3:08-cr-30254-JPG               Document 113 Filed 08/25/09                  Page 2 of 6            Page ID
AO 2458     (Rev. 09/08) Judgment in Criminal Case             #388
            Sheet 2 - Imprisonment

                                                                                                  Judgment -   Page   _-=2,-- of   6
DEFENDANT: GENESIS M. EFFINGER
CASE NUMBER: 3:08CR30254-005-JPG


                                                          IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
  87 months on Count 1 of the Indictment.




    ¢ The court makes the following recommendations to the Bureau of Prisons:
 That the defendant be placed in the Green Briar Birthing Center.




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
      o at ------------------- o a.m. o p.m. on
          o as notified by the United States Marshal.
    ¢ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      o before 2 p.m. on
      o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.

                                                                RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

 a _______________________________ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                        By ______~~==~====~==~==~-------
                                                                                           DEPUTY UNITED STATES MARSHAL
                  Case 3:08-cr-30254-JPG                 Document 113 Filed 08/25/09                     Page 3 of 6           Page ID
AO 245B       (Rev. 09/08) Judgment in a Criminal Case
                                                                   #389
              Sheet 3 - Supervised Release

                                                                                                                           3_ of
                                                                                                           Judgment-Page _ _                   6
DEFENDANT: GENESIS M. EFFINGER
CASE NUMBER: 3:08CR30254-005-JPG
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 4 years on Count 1 of the Indictment

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, ifapplicable.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
D        as direc~ed by the probatIOn offi~er, the Burea~ of Prisons, or any state sex offender registration agency in which he or she resides,
         works, IS a student, or was convIcted of a quabfymg offense. (Check, if applicable.)

D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shaH not frequent places where controlled substances are illegaHy sold, used, distributed, or administered;
  9)      the defendant shaH not associate with any Jlersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11 )     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or Rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
AO 2458     Case
          (Rev.       3:08-cr-30254-JPG
                09108) Judgment in a Criminal Case
                                                     Document 113 Filed 08/25/09          Page 4 of 6       Page ID
          Sheet 3C - Supervised Release                        #390
                                                                                                            4_ of
                                                                                            Judgment-Page _ _              6
DEFENDANT: GENESIS M. EFFINGER
CASE NUMBER: 3:0BCR30254-005-JPG

                                      SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or ten
 percent of her net monthly income, whichever is greater, to commence 30 after release from imprisonment to a term of
 supervision until paid in full.

 X The defendant shall provide the probation officer and the Financial Litigation unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, jUdgments, and/or any other
 antiCipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X Due to the defendant's substance abuse history, she shall partiCipate as directed and approved by the probation officer
 in treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
 detection measures and which may require residence and/or partiCipation in a residential treatment facility. Any
 partiCipation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs
 associated with substance abuse counseling and/ or testing based on a copay sliding fee scale approved by the United
 States probation Office. Copay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
 in a one year period.

 X The defendant shall submit her person, reSidence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.
AO 2458     (Rev. Case     3:08-cr-30254-JPG
                  09/08) Judgment in a Criminal Case     Document 113 Filed 08/25/09                      Page 5 of 6        Page ID
            Sheet 5 - Criminal Monetary Penalties                  #391
                                                                                                      Judgment -   Page _ _5=--_   of      6
DEFENDANT: GENESIS M. EFFINGER
CASE NUMBER: 3:08CR30254-005-JPG
                                             CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                         Fine                                Restitution
 TOTALS            $ 100.00                                           $ 200.00                            $ 0.00


 D The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case (AD 245C) will be entered
                                                         -----
       after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned l?a~ent, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 36640), all nonfederal victims must be paid
       before the United States is paid.

 Name of Payee                                                      Total Loss*               Restitution Ordered




 TOTALS                             $ - - - - - - - - - - - - -0.00          $                       0.00
                                                                ---              -----------------

 D      Restitution amount ordered pursuant to plea agreement $

 D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 r;t    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        r;t the interest requirement is waived for the        r;t fine   D   restitution.

        D the interest requirement for the       D     fine     D   restitution is modified as follows:



 * Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
AO 245B    (Rev.Case      3:08-cr-30254-JPG
                 09/08) Judgment in a Criminal Case     Document 113 Filed 08/25/09                          Page 6 of 6            Page ID
           Sheet 6 - Schedule of Payments                         #392
                                                                                                              Judgment -   Page   _--=6'----- of       6
DEFENDANT: GENESIS M. EFFINGER
CASE NUMBER: 3:08CR30254-005-JPG

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ~ Lump sum payment of $                                  due immediately, balance due

          D     not later than                                     , or
          D     in accordance         D C,        D D,        D      E, or    r;t F below; or
B    D    Payment to begin immediately (may be combined with                 DC,        DD,or         D F below); or

C    D    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                         (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    D    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                         (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    riI Special instructions regarding the payment of criminal monetary penalties:
           X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
           commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or
           ten percent of her net monthly income, whichever is greater, to commence 30 after release from imprisonment to
           a term of supervision until paid in full.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All Criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shaIl receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shaIl pay the cost of prosecution.

D    The defendant shaIl pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the foIlowing property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
